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                 EXHIBIT B
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MARYLAND
                                 Greenbelt Division

 KILMAR ARMANDO ABREGO GARCIA, et al.,

              Plaintiffs,

                            v.
                                                          No. 8:25-CV-00951-PX
 KRISTI NOEM, Secretary of Homeland
   Security, et al.,

              Defendants.


DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’ FIRST
       SET OF EXPEDITED REQUESTS FOR PRODUCTION

      Defendants object and respond to Plaintiffs’ First Set of Expedited Requests

for Production (“Expedited Document Requests”) in accordance with Federal Rules of

Civil Procedure 26 and 34, Local Rule 104, and the Court’s Order Granting Expedited

Discovery (“Order”) (Dkt. 79).

                            PRELIMINARY STATEMENT

      Defendants have made a diligent and good faith effort to obtain documents in

their possession, custody or control that are responsive to the Expedited Document

Requests. Defendants’ responses are based on their knowledge, information, and

documents acquired and reviewed to date.

      Defendants’ objections and responses shall not be deemed to constitute

admissions that (a) information or any document or thing exists or is relevant, non-

privileged, or admissible in evidence; or (b) any statement or characterization by

Plaintiffs in the Expedited Document Requests is accurate or complete.
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                        OBJECTIONS TO DEFINITIONS

      “Document.” To the extent Plaintiffs’ definition of “document” is broader than

the definition contained in Appendix D to the Local Rules, Defendants object to that

broader definition. Defendants will use the definition of “Document” reflected in

Appendix D to the Local Rules. This objection is incorporated into each of Defendants’

responses to the Expedited Document Requests.

      ““You” and “Your.” Defendants object to Plaintiffs’ definition of “You” and

“Your” and will construe those words in the context of Plaintiffs’ Expedited

Documents Requests as meaning the person(s) to whom the Expedited Documents

Requests are addressed, and all that person’s agents and representatives. This

objection is incorporated into each of Defendants’ responses to the Expedited

Document Requests.

                       OBJECTIONS TO INSTRUCTIONS

      Timeframe. Defendants object to Plaintiffs’ proposed timeframe for the

Expedited Document Requests as inconsistent and partially outside the scope of

expedited discovery authorized under the Order, to the extent is seeks information

prior to the Court’s April 4, 2025, Order Granting Preliminary Injunction (Dkt. 21).

Defendants will produce information related to matters occurring on or after April 4,

2025. This objection is incorporated into each of Defendants’ responses to the

Expedited Document Requests.

      Privilege. Defendants object to the extent Plaintiffs demand that Defendants

produce a privilege log on April 21, 2025, during expedited discovery. Defendants are




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willing to meet and confer with Plaintiffs regarding the appropriate time for

providing a privilege log.

OBJECTIONS AND RESPONSES TO EXPEDITED DOCUMENT REQUESTS

      Document Request No. 1: All Documents concerning each action You have

already taken, or plan to take in the future, to Facilitate Abrego Garcia’s release from

custody in El Salvador.

      Defendants’ Response to Document Request No. 1: Defendants object to

Document Request No. 1 as based on the false premise that the United States can or

has been ordered to facilitate Abrego Garcia’s release from custody in El Salvador. See

Abrego Garcia, 604 U.S.—, slip op. at 2 (holding Defendants should “take all available

steps to facilitate the return of Abrego Garcia to the United State”) (emphasis added).

Defendants further object to Document Request No. 1 as calling for documents that

are protected by the attorney-client privilege, the deliberative process privilege, the

state secrets privilege, and the governmental privilege. Defendants incorporate their

objections to definitions and objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants agree to

produce non-privileged documents responsive to Document Request No. 1 that are in

their possession, custody and control and that can be located after a

reasonable search.

      Document Request No. 2: All Documents concerning each action You have

already taken, or plan to take in the future, to Facilitate Abrego Garcia’s return to

the United States.




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      Defendants’ Response to Document Request No. 2: Defendants object to

Document Request No. 2 as calling for documents that are protected by the attorney-

client privilege, the deliberative process privilege, the state secrets privilege, and the

governmental privilege. Defendants incorporate their objections to definitions and

objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants agree to

produce non-privileged documents responsive to Document Request No. 2 that are in

their possession, custody and control and that can be located after a

reasonable search.

      Document Request No. 3: All Documents reflecting any request to release

Abrego Garcia from custody in El Salvador, and any responses thereto.

      Defendants’ Response to Document Request No. 3: Defendants object to

Document Request No. 3 as based on the false premise that the United States can or

has been ordered to facilitate Abrego Garcia’s release from custody in El Salvador. See

Abrego Garcia, 604 U.S.—, slip op. at 2 (holding Defendants should “take all available

steps to facilitate the return of Abrego Garcia to the United State”) (emphasis added).

Defendants further object to Document Request No. 3 as calling for documents that

are protected by the attorney-client privilege, the deliberative process privilege, the

state secrets privilege, and the governmental privilege. Defendants incorporate their

objections to definitions and objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants agree to

produce non-privileged documents responsive to Document Request No. 3 that are in




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their possession, custody and control and that can be located after a

reasonable search.

      Document Request No. 4: All Communications to or from anyone in the

government of El Salvador or at CECOT concerning Abrego Garcia.

      Defendants’ Response to Document Request No. 4: Defendants object to

Document Request No. 4 as outside the scope of expedited discovery authorized under

the Order. Defendants will limit their production to documents concerning: (1) the

current physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Document Request No. 4 as overly broad and

unduly burdensome to the extent it seeks “All Documents” concerning every single

communication Defendants have had with anyone in the government of El Salvador

or at CECOT concerning Abrego Garcia. Defendants further object to Document

Request No. 4 as calling for documents that are protected by the attorney-client

privilege, the deliberative process privilege, the state secrets privilege, and the

governmental privilege. Defendants incorporate their objections to definitions and

objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants agree to

produce non-privileged documents responsive to Document Request No. 4 that are in

their possession, custody and control and that can be located after a

reasonable search.




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      Document Request No. 5: All Documents concerning the legal basis for

Abrego Garcia’s confinement in CECOT.

      Defendants’ Response to Document Request No. 5: Defendants object to

Document Request No. 5 as outside the scope of expedited discovery authorized under

the Order. Defendants will limit their production to documents concerning: (1) the

current physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Document Request No. 5 as calling for documents

that are protected by the attorney-client privilege, the deliberative process privilege,

the state secrets privilege, and the governmental privilege. Defendants incorporate

their objections to definitions and objections to instructions.

      Based on these objections, Defendants will not produce documents that may be

responsive to this request. Defendants are willing to meet and confer with Plaintiffs

regarding Document Request No. 5.

      Document Request No. 6: All Documents concerning any agreement,

arrangement, or understanding between the governments of the United States and

El Salvador to confine in El Salvador individuals of any nationality who were

removed or deported from the United States or transported by You from the United

States to El Salvador, including (but not limited to) the memorandum issued by El

Salvador’s Ministry of Foreign Affairs referenced at ECF No. 31 at 6.




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      Defendants’ Response Document Request No. 6: Defendants object to

Document Request No. 6 as outside the scope of expedited discovery authorized under

the Order. Defendants will limit their production to documents concerning: (1) the

current physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Document Request No. 6 as overly broad and

unduly burdensome to the extent it seeks “All Documents” concerning every single

agreement, arrangement, or understanding between the governments of the United

States and El Salvador to confine in El Salvador individuals of any nationality who

were removed or deported from the United States. Defendants object to Document

Request No. 6 as irrelevant to the extent it calls for documents related to individuals

other than Abrego Garcia. Defendants further object to Document Request No. 6 as

calling for documents that are protected by the attorney-client privilege, the

deliberative process privilege, the state secrets privilege, and the governmental

privilege. Defendants incorporate their objections to definitions and objections

to instructions.

      Subject to and without waiving the forgoing objections, Defendants agree to

produce non-privileged documents responsive to Document Request No. 6 that are in

their possession, custody and control and that can be located after a

reasonable search.




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      Document Request No. 7: All Documents concerning the rights the

government of the United States possesses, retains, or has exercised with respect to

Abrego Garcia or other individuals of any nationality who were removed or deported

from the United States or transported by You from the United States to El Salvador

and who are detained at CECOT, including (but not limited to) Documents concerning

the decision-making authority over the long term disposition of Abrego Garcia and

the other removed or deported individuals.

      Defendants’ Response to Document Request No. 7: Defendants object to

Document Request No. 7 as based on the premise that the United States may exercise

authority over El Salvadorean citizens detained by El Salvador within the sovereign

territory of El Salvador. Defendants further object to Document Request No. 7 as

outside the scope of expedited discovery authorized under the Order. Defendants will

limit their production to documents concerning: (1) the current physical location and

custodial status of Abrego Garcia; (2) what steps, if any, Defendants have taken to

facilitate Abrego Garcia’s immediate return to the United States; and (3) what

additional steps Defendants will take, and when, to facilitate his return. Defendants

further object to Document Request No. 7 as irrelevant to the extent it calls for

documents related to individuals other than Abrego Garcia. Defendants further object

to Document Request No. 7 as calling for documents that are protected by the

attorney-client privilege, the deliberative process privilege, the state secrets

privilege, and the governmental privilege. Defendants incorporate their objections to

definitions and objections to instructions.




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      Subject to and without waiving the forgoing objections, Defendants agree to

produce non-privileged documents responsive to Document Request No. 7 that are in

their possession, custody and control and that can be located after a

reasonable search.

      Document Request No. 8: All Documents reflecting payments You made (or

payments that are to be made) in connection with the detention at CECOT of Abrego

Garcia and other individuals of any nationality removed or deported from the United

States or transported by You from the United States to El Salvador.

      Defendants’ Response to Document Request No. 8: Defendants object to

Document Request No. 8 as outside the scope of expedited discovery authorized under

the Order. Defendants will limit their production to documents concerning: (1) the

current physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants object to Document Request No. 8 as irrelevant to the extent it

calls for documents related to individuals other than Abrego Garcia. Defendants

further object to Document Request No. 8 as calling for documents that are protected

by the attorney-client privilege, the deliberative process privilege, the state secrets

privilege, and the governmental privilege. Defendants incorporate their objections to

definitions and objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants agree to

produce non-privileged documents responsive to Document Request No. 8 that are in




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their possession, custody and control and that can be located after a

reasonable search.

      Document Request No. 9: All Documents concerning each instance since

2015 in which You removed, deported or transported a person of any nationality to

El Salvador and later undertook efforts to Facilitate that person’s return to the

United States (e.g., ECF No. 31 at 5 n.7; Defendants’ Status Update in Grace v.

Sessions, No. 1:18-cv-01853-EGS (D.D.C. Jan. 11, 2019), ECF No. 113).

      Defendants’ Response to Document Request No. 9: Defendants object to

Document Request No. 9 as outside the scope of expedited discovery authorized under

the Order. Defendants will limit their production to documents concerning: (1) the

current physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Document Request No. 9 as irrelevant to the

extent it calls for documents related to individuals other than Abrego Garcia.

Defendants further object to Document Request No. 9 as calling for documents that

are protected by the attorney-client privilege, the deliberative process privilege, the

state secrets privilege, and the governmental privilege. Defendants incorporate their

objections to definitions and objections to instructions.

      Based on these objections, Defendants will not produce documents that may be

responsive to this request. Defendants are willing to meet and confer with Plaintiffs

regarding Document Request No. 9.




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      Document Request No. 10: All Documents concerning each instance since

2015 in which You undertook extraterritorial efforts to Facilitate the return to the

United States of an individual of any nationality who was removed or deported from

the United States or transported by You from the United States to a foreign country.

      Defendants’ Response to Document Request No. 10: Defendants object to

Document Request No. 10 as outside the scope of expedited discovery authorized

under the Order. Defendants will limit their production to documents concerning:

(1) the current physical location and custodial status of Abrego Garcia; (2) what steps,

if any, Defendants have taken to facilitate Abrego Garcia’s immediate return to the

United States; and (3) what additional steps Defendants will take, and when, to

facilitate his return. Defendants further object to Document Request No. 10 as overly

broad and unduly burdensome to the extent it seeks “All Documents” concerning

matters dating back to 2015. Defendants object to Document Request No. 10 as

irrelevant to the extent it calls for documents related to individuals other than Abrego

Garcia. Defendants further object to Document Request No. 10 as calling for

documents that are protected by the attorney-client privilege, the deliberative process

privilege, the state secrets privilege, and the governmental privilege. Defendants

incorporate their objections to definitions and objections to instructions.

      Based on these objections, Defendants will not produce documents that may be

responsive to this request. Defendants are willing to meet and confer with Plaintiffs

regarding Document Request No. 10.




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      Document Request No. 11: All Documents in the possession, custody, or

control of Robert L. Cerna, Evan C. Katz, Michael G. Kozak, or Joseph N. Mazzara

that relate to Abrego Garcia.

      Defendants’ Response to Document Request No. 11: Defendants object to

Document Request No. 11 as outside the scope of expedited discovery authorized

under the Order. Defendants will limit their production to documents concerning:

(1) the current physical location and custodial status of Abrego Garcia; (2) what steps,

if any, Defendants have taken to facilitate Abrego Garcia’s immediate return to the

United States; and (3) what additional steps Defendants will take, and when, to

facilitate his return. Defendants further object to Document Request No. 11 as calling

for documents that are protected by the attorney-client privilege, the deliberative

process privilege, the state secrets privilege, and the governmental privilege.

Defendants incorporate their objections to definitions and objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants agree to

produce non-privileged documents responsive to Document Request No. 11 that are

in their possession, custody and control and that can be located after a

reasonable search.

      Document Request No. 12: All Documents reflecting non-privileged

discussions about any court order in this case, including the Supreme Court’s order

dated April 10, 2025.

      Defendants’ Response to Document Request No. 12: Defendants object to

Document Request No. 12 as outside the scope of expedited discovery authorized




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under the Order. Defendants will limit their production to documents concerning:

(1) the current physical location and custodial status of Abrego Garcia; (2) what steps,

if any, Defendants have taken to facilitate Abrego Garcia’s immediate return to the

United States; and (3) what additional steps Defendants will take, and when, to

facilitate his return. Defendants further object to Document Request No. 12 because

it is not relevant to any claims or defenses at issue in this case. Defendants

incorporate their objections to definitions and objections to instructions.

      Based on these objections, Defendants will not produce documents that may be

responsive to this request. Defendants are willing to meet and confer with Plaintiffs

regarding Document Request No. 12.

      Document Request No. 13: A Without regard for timeframe, all Documents

that You contend support Your assertions that Abrego Garcia “is a member of MS-

13” (e.g., ECF No. 77-1 at 12).

      Defendants’ Response to Document Request No. 13: Defendants object to

Document Request No. 8 as outside the scope of expedited discovery authorized under

the Order. Defendants will limit their production to documents concerning: (1) the

current physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Document Request No. 13 as calling for

information that is protected by the attorney-client privilege, the deliberative process




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privilege, the state secrets privilege, and the governmental privilege. Defendants

incorporate their objections to definitions and objections to instructions.

      Based on these objections, Defendants will not produce documents that may be

responsive to this request. Defendants are willing to meet and confer with Plaintiffs

regarding Document Request No. 13.

      Document Request No. 14: All Documents You may rely on to support Your

defenses.

      Defendants’ Response to Document Request No. 14: Defendants object to

Document Request No. 14 as outside the scope of expedited discovery authorized

under the Order. Defendants will limit their production to documents concerning:

(1) the current physical location and custodial status of Abrego Garcia; (2) what steps,

if any, Defendants have taken to facilitate Abrego Garcia’s immediate return to the

United States; and (3) what additional steps Defendants will take, and when, to

facilitate his return. Defendants further object to Document Request No. 14 as vague

and ambiguous because the meaning of “Your defenses” is unknown, seeing as

Defendants have not yet had an opportunity to Answer Plaintiffs’ factual allegations

or asserted their defenses. Defendants further object to Document Request No. 14 as

premature, to the extent is calls for documents not due until Defendants serve their

initial disclosures under Federal Rule of Civil Procedure 26. Defendants further

object to Document Request No. 14 as calling for documents that are protected by the

attorney-client privilege, the deliberative process privilege, the state secrets




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privilege, and the governmental privilege. Defendants incorporate their objections to

definitions and objections to instructions.

      Based on these objections, Defendants will not produce documents that may be

responsive to this request. Defendants are willing to meet and confer with Plaintiffs

regarding Document Request No. 14.


                                              Respectfully submitted,

                                              Yaakov M. Roth
                                              Acting Assistant Attorney General
                                              Civil Division

                                              /s/ Drew Ensign
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Dated: April 21, 2025                         Counsel for Defendants–Appellant




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